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11 Attorneys for Defendant Koninklijke Philips Electronics N.V.
   and Philips Electronics North America Corporation
12

13                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16 In re: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
   ANTITRUST LITIGATION
17                                                       MDL No. 1917
   ________________________________________
18                                                       APPLICATION OF ERIK T. KOONS FOR
                                                         ADMISSION OF ATTORNEY PRO HAC
19 This Document Relates to:                             VICE

20      ALL ACTIONS

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                               APPLICATION OF ERIK T. KOONS FOR ADMISSION OF
                                   ATTORNEY PRO HAC VICE - NO. 07-5944-SC
      Case 4:07-cv-05944-JST Document 1517 Filed 01/02/13 Page 2 of 3



 1
            Pursuant to Civil L.R. 11-3, ERIK T. KOONS, an active member in good standing of the
 2
     bar or New York and the District of Columbia, hereby applies for admission to practice in the
 3
     Northern District of California on a pro hac vice basis representing Defendants Koninklijke
 4
     Philips Electronics N.V. and Philips Electronics North America Corporation in the above-titled
 5
     action. In support of this application, I certify on oath that:
 6
            1.      I am an active member in good standing of a United States Court or the highest
 7
     court of another State or District of Columbia, as indicated above;
 8
            2.      I agree to abide by the Standards of Professional Conduct set forth in Civil Local
 9
     Rule 11-4, to comply with General Order No. 45, Electronic Case Filing, and to become familiar
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     with the Local Rules and the Alternative Dispute Resolution programs of this Court; and
11
            3.      An attorney who is a member of the bar of this Court in good standing and who
12
     maintains an office within the State of California has been designated as co-counsel in above-
13
     entitled action. The name, address and telephone number of that attorney is:
14
                                   Jon V. Swenson (SBN 233054)
15                                 Email: jon.swenson@bakerbotts.com
16                                 BAKER BOTTS L.L.P.
                                   1001 Page Mill Road
17                                 Building One, Suite 200
                                   Palo Alto, CA 94304
18                                 Telephone: (650) 739-7514
                                   Facisimile: (650) 739-7614
19
            I declare under penalty of perjury that the foregoing is true and correct.
20

21
     Dated: January 2, 2013                         /s/ Erik T. Koons
22
                                                    ERIK T. KOONS
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                                                        2                                      MDL 1917
                                APPLICATION OF ERIK T. KOONS FOR ADMISSION OF
                                    ATTORNEY PRO HAC VICE - NO. 07-5944-SC
      Case 4:07-cv-05944-JST Document 1517 Filed 01/02/13 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that on January 2, 2013, I electronically filed the APPLICATION OF
 3
     ERIK T. KOONS FOR ADMISSION OF ATTORNEY PRO HAC VICE with the Clerk of
 4
     the Court using the CM/ECF system, which will send notification of such filing to the counsel of
 5
     record in this matter who are registered on the CM/ECF system.
 6

 7                                               By: /s/ Jon V. Swenson______________
                                                      Jon V. Swenson
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                                  ATTORNEY PRO HAC VICE - NO. 07-5944-SC
